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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


 JOHN DOE,                                             )
                                                       )
                               Plaintiff,              )
                                                       )
                          v.                           )       No. 1:18-cv-03713-TWP-MJD
                                                       )
 INDIANA UNIVERSITY - BLOOMINGTON,                     )
                                                       )
                               Defendant.              )




                       MINUTE ENTRY FOR DECEMBER 5, 2018
                         IN PERSON PRETRIAL CONFERENCE
                    HON. MARK J. DINSMORE, MAGISTRATE JUDGE


        The parties appeared by counsel for a Pretrial Conference. The Court and parties

 discussed a schedule to prepare the matter to address Plaintiff’s motion for preliminary

 injunction, which schedule will be entered by separate order.

        This matter is scheduled for a telephonic status conference on Tuesday, December 11,

 2018 at 11:30 a.m. (Eastern) to discuss case status. The conference will also address any issues

 regarding the parties’ written discovery requests, objections to which are due by December 10,

 2018; in the event such issues arise, the parties are directed to meet-and-confer in an effort to

 resolve such dispute in advance of the conference and to be prepared to discuss the dispute

 during the conference (in advance of the conference the parties shall also email to Magistrate

 Judge Dinsmore at MJDinsmore@insd.uscourts.gov copies of the discovery requests and
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 responses involved in the dispute). Counsel shall attend the status conference by calling the

 designated telephone number, to be provided by the Court via email generated by the Court’s

 ECF system.



        Dated: 5 DEC 2018




 Distribution:

 Service will be made electronically
 on all ECF-registered counsel of record via
 email generated by the court’s ECF system.
